Case:24-12624-KHT Doc#:334 Filed:03/14/25                 Entered:03/14/25 17:27:08 Page1 of 9




                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

 In re:                            )
                                   )
 DNC AND TCPA LIST SANITIZER, LLC, )                   Case No. 24-12624 KHT
                                   )                   Chapter 11
      Debtor.                      )


           OBJECTION TO MOTION TO MODIFY CASH COLLATERAL ORDER


          Adam Young, Tubmanburg Limited, and Ringba, LLC (collectively, “Ringba”), by and

 through their counsel, Womble Bond Dickinson (US) LLP, respectfully files their Objection to

 Debtor’s Motion to Modify Cash Collateral Order (the “Objection”). In support of their Objection,

 Ringba states as follows:

                                 PRELIMINARY STATEMENT

          The Debtor’s Motion to Modify Cash Collateral Order (the “Motion”) is the sixth attempt

 to pay Cashyew Holding, LLC (“Cashyew”) for vague, yet reportedly “essential” services, at the

 startling rate of $35,000 a month. This latest attempt is no more legitimate than the prior attempts.

 Indeed, only a month prior to filing the Motion, Cashyew requested to be paid the same sum as an

 “administrative expense” pursuant to 11 U.S.C. § 503(b).             Ringba has objected to the

 administrative expense motion filed by Cashyew. Now, because Cashyew’s services cannot be

 paid as an “administrative expense,” the Debtor is requesting Cashyew’s management fee be paid

 through the use of cash collateral. Because Cashyew and the Debtor admit, that Cashyew is a

 “professional person,” purportedly providing essential management services to the Debtor’s

 estate, Cashyew must apply for employment and compensation under 11 U.S.C. §§ 327(a) and

 330.




 127746391.1
Case:24-12624-KHT Doc#:334 Filed:03/14/25               Entered:03/14/25 17:27:08 Page2 of 9




                                        BACKGROUND

          1.    DNC and TCPA List Sanitizer, LLC (the “Debtor”) filed for relief under Chapter

 11 of the Bankruptcy Code on May 16, 2024.

          2.    The Debtor is 99% owned by Cashyew . Docket No. 55 ¶ 8. The remaining

 ownership interests in the Debtor are held by Michael O’Hare (.50%), the Debtor’s CEO, and

 Tanya O’Hare (.50%), the Debtor’s Secretary. Docket No. 84 § 28. Cashyew is in turn wholly

 owned by the O’Hares. Docket No. 55 ¶ 8.

          3.    On June 26, 2024, JPMorgan Chase Bank, N.A. (“JPMorgan”) filed its Notice of

 Non-Consent to Debtor’s Use of Cash Collateral.

          4.    On July 10, 2024, the Debtor filed its Motion to Assume Management Agreement

 with [Cashyew] (the “Motion to Assume”), under which the Debtor sought authority to pay

 Cashyew a 60% management fee (of the Debtor’s gross revenues) on a monthly basis going

 forward. Docket Nos. 58, 58-1, 58-2. Multiple objections were filed in opposition to the Motion

 to Assume. See Docket Nos. 88, 100, 102 (objections were filed by Ringba, JPMorgan and the

 United States Trustee (the “UST”)). The objecting parties asserted that the contract to be assumed

 was not beneficial to the estate and was apparently executed after the petition date. See Docket

 Nos. 88 ¶¶ 15, 18–21; 100 ¶¶ 10–11; 102 ¶ 9. For example, Ringba noted that the Management

 Agreement would “move money from the Debtor to insiders;” would benefit the O’Hares and

 Cashyew “over the bankruptcy estate and creditors;” and evidenced self-dealing by and between

 the O’Hares and their two entities (the Debtor and Cashyew). Docket No. 88 ¶¶ 18, 21. JPMorgan

 likewise objected that it did “not consent to the use of cash collateral to pay Cashyew” under the

 Management Agreement or otherwise. Docket No. 100 ¶ 12. Additionally, the UST objected that

 the Motion to Assume entirely lacked any explanation as to why the Court should approve the



                                               -2-
 127746391.1
Case:24-12624-KHT Doc#:334 Filed:03/14/25                Entered:03/14/25 17:27:08 Page3 of 9




 motion and that it was unclear whether the Management Agreement was executed pre or

 postpetition. Docket No. 102 ¶¶ 5, 6. The UST also observed that it would be impossible for the

 Debtor to pay its proposed 60% of gross revenue to Cashyew while also paying its other expenses,

 amounting to about 80% of the Debtor’s gross revenue. Id. ¶ 9. The Debtor failed to further

 prosecute the Motion to Assume in light of the three objections.

          5.    On August 28, 2024, in its second attempt, the Debtor filed its Ex Parte Motion to

 Approve Stipulated Final Cash Collateral Agreement. Docket No. 134. On August 30, 2024, this

 Court denied the Debtor’s motion, noting that the requested relief could not be granted ex parte.

 Docket No. 139.

          6.    On September 10, 2024, the Debtor again filed a Motion for Authority to Use Cash

 Collateral. Docket No. 149. After multiple parties objected to the motion, the Debtor withdrew the

 same on September 20, 2024. Docket No. 163.

          7.    Then, on October 2, 2024, the Debtor filed its next, untimely, Motion for Authority

 to Use Cash Collateral “[i]n order to pay necessary operating expenses[.]” Docket No. 189 ¶ 9.

 Attached to the motion was a proposed budget, which included payments to Cashyew for “Owner

 Comp” in the total amount of $549,433.82 between May 2024 and March 2025. See Docket No.

 189-1. The Cash Collateral Motion was filed only after the Debtor had made multiple postpetition

 unauthorized transfers to Cashyew, the O’Hares, and others, without the consent of JPMorgan or

 permission from this Court. See Docket Nos. 50; 151 ¶¶ 34–39.

          8.    On October 24, 2024, this Court, pursuant to the consent of Ringba, JPMorgan, and

 the UST, partially granted the Debtor’s Motion for Authority to Use Cash Collateral but held that

 “[t]he Debtor can make all payments provided for in the Budget except for payments to Cashyew

 Holding . . . .” Docket No. 252 ¶ 1 (emphasis added).



                                               -3-
 127746391.1
Case:24-12624-KHT Doc#:334 Filed:03/14/25               Entered:03/14/25 17:27:08 Page4 of 9




          9.    On January 24, 2025, despite the Court’s prior order disallowing the use of cash

 collateral to pay Cashyew, Cashyew filed its Motion for Administrative Expenses and Fees

 Pursuant to 11 U.S.C. §§’s 503(b)(1) and (2). Docket No. 302. On February 17, 2025, Ringba

 objected because, inter alia, Cashyew is a “professional person” that should have, but failed to,

 seek employment under 11 U.S.C. § 327(a). Docket No. 313.

          10.   On February 26, 2025, the Debtor filed its Fourth Amended Sub-Chapter V Plan of

 Reorganization Dated February 26, 2025. Docket No. 316.

          11.   Finally, on February 28, 2025, the Debtor filed the instant Motion to Modify Cash

 Collateral Order, requesting modification of this Court’s order at Docket No. 252, to permit the

 use of cash collateral to pay Cashyew monthly payments of $35,000. See Motion at 3.

                                            OBJECTION

          12.   This Motion is the Debtor’s and Cashyew’s sixth aggregated attempt to have

 insiders paid significant sums using estate funds and/or cash collateral. However, just because

 Cashyew and the O’Hares have unabashedly and repeatedly attempted to extract large amounts

 from the bankruptcy estate does not mean that this Motion is any more legitimate or justified than

 the prior attempts. After failing to secure compensation through other legitimate channels, the

 Debtor now baldly asks this Court to allow the monthly payment of $35,000, to Cashyew, out of

 cash collateral, despite this Court’s prior order denying the same. See Docket No. 252. The Debtor

 cites no legal authority in support of its Motion.

          13.   Instead, the Debtor is attempting to wire-around the typical employment process to

 pay Cashyew as a “professional person,” for playing an essential role in the management of the

 Debtor and the bankruptcy. See Docket No. 319 ¶ 22; see also 11 U.S.C. § 327(a). However,




                                                 -4-
 127746391.1
Case:24-12624-KHT Doc#:334 Filed:03/14/25               Entered:03/14/25 17:27:08 Page5 of 9




 Cashyew and the Debtor failed to file an employment application before Cashyew undertook these

 reported “services” and thus the Motion must be denied.

          14.   Before the Motion, Cashyew also previously attempted to have itself paid $35,000

 a month (for a total of $210,000 for August 2024 through January 2025) through its Motion for

 Administrative Expenses and Fees Pursuant to 11 U.S.C. §§’s 503(b)(1) and (2). Docket No. 302.

 However, as explained in detail in Ringba’s objection to that motion, Cashyew could only have

 been employed and compensated through 11 U.S.C. §§ 327(a) and 330, because Cashyew is a

 “professional person,” performing purportedly “essential” management duties for the Debtor.

 Docket No. 313 ¶¶ 13–26; see also Docket No. 319 ¶ 22 (“Cashyew, an affiliated entity to the

 Debtor, provides essential services to the Debtor. These services include but are not limited to

 financial management, bookkeeping, operations management, sales and marketing, and risk/crisis

 management.”); see also In re Blair Oil Investments, LLC, 588 B.R. 579, 592 (2018) (holding that

 “professional persons” must apply for employment and compensation under 11 U.S.C. § 327(a)).

 Otherwise, a professional person providing services to the bankruptcy estate without court

 approval is “simply considered a volunteer[.]” Blair Oil, 588 B.R. at 591.

          15.   Even if Cashyew had timely applied for employment under Section 327(a), its

 request would have been rejected. As an insider of the Debtor, Cashyew is plainly not

 “disinterested” under 11 U.S.C. § 327(a) and § 101(14), and thus is ineligible for employment

 under Section 327(a). See In re 7677 E. Berry Ave. Assocs., L.P., 419 B.R. 833, 843 (Bankr. D.

 Colo. 2009); see also Docket No. 313 ¶¶ 27–29. Further, Cashyew has an economic interest in

 overcompensating itself and the O’Hares for vague services rendered, which is an interest

 materially adverse to the Debtor’s bankruptcy estate and creditors. C.f. In re Roper & Twardowsky,

 LLC, 566 B.R. 734, 755 (Bankr. D.N.J. 2017) (“An ‘adverse interest,’ in turn, is usually defined



                                               -5-
 127746391.1
Case:24-12624-KHT Doc#:334 Filed:03/14/25                          Entered:03/14/25 17:27:08 Page6 of 9




 to mean ‘any economic interest that would tend to lessen the value of the bankruptcy or that would

 create either an actual or potential dispute in which the estate is a rival claimant.’” (quoting In re

 eToys, Inc., 331 B.R. 176, 189 (Bankr. D. Del. 2005)); see also Docket No. 313 ¶¶ 30–32. In short,

 Cashyew’s latest Motion should be denied because, as a “professional person” providing essential

 management services to the Debtor, Cashyew failed to apply for employment under 11 U.S.C.

 § 327(a), and Cashyew is not “disinterested,” in any event.

          16.      Additionally, the Motion should be denied because Cashyew (i.e., the O’Hares)

 should not be permitted significant compensation where the Debtor’s proposed Plan treats

 multiples claims as “disputed” and not payable until appeals are exhausted and where the Plan

 does not even set forth full payment to Ringba. First, the Debtor characterizes Ringba’s claim and

 the claim of Cohen, LLC, as disputed. Docket No. 316 at 8. As to Ringba’s claim, the Plan states

 that “[i]f the Debtor prevails the amount owed to unsecured creditors will decrease,” suggesting

 the Debtor does not intend to pay the claim until the conclusion of its appellate process.1 Id. The

 Plan explains that where disputed claims (i.e., those belonging to Ringba and Cohen, LLC) are

 “not subject to a Final Order, the portion of the distribution that would be paid to the disputed

 claimant will be held by the Debtor in an interest-bearing account until the Claim is allowed or

 disallowed.” Id. at 17. Thus, the Debtor intends to significantly delay payment to both Ringba and

 Cohen, LLC, despite claiming it has proposed a full payment Plan. See id. at 5, 17, 24. Indeed, as

 the Plan relates to unsecured creditors, Ringba and Cohen are the only significant claims owed by

 the Debtor. See Docket No. 316, Exhibit A at 29. Otherwise, only nominal amounts are to be paid

 to American Express and GLegal. Id. The Plan alleges it is a full-payment plan, but treats its two


 1
   On March 12, 2025, the Debtor filed its Petition for Certiorari in the Colorado Supreme Court. Typically, it will
 take several months for the Colorado Supreme Court to determine a Petition for Certiorari. In addition, Ringba expects
 the Debtor’s second appeal, now pending, will also be denied by the Colorado Court of Appeals and yet another
 Petition for Certiorari will be filed relating to the Debtor’s second appeal.

                                                         -6-
 127746391.1
Case:24-12624-KHT Doc#:334 Filed:03/14/25                 Entered:03/14/25 17:27:08 Page7 of 9




 largest creditors as disputed. Thus, the Plan, in actuality, does not provide for one-hundred percent

 payment to unsecured creditors, at least at any time in the near future. Under these circumstances,

 the cash collateral modification Motion should not be granted.

          17.    Second, the Plan appears to omit interest payments to Ringba, on its underlying

 claim of $640,000. See Docket No. 316 at 3, 15–16. Thus, while the Debtor is, on the one hand,

 proposing not to fully pay or attempt to fully pay its creditors, it is, on the other hand, requesting

 permission from this Court to pay the significant (and impermissible) sum of $35,000 a month to

 Cashyew (i.e., to the O’Hares, the insiders and principals of both Cashyew and the Debtor). Thus,

 the Motion should be denied.

          WHEREFORE, Adam Young, Tubmanburg Limited and Ringba, LLC, respectfully

 request that the Court deny Cashyew’s Motion to Modify Cash Collateral Order and enter such

 other and further relief as the Court deems just and appropriate.

          Respectfully submitted this 14th day of March, 2025.

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                                                 -7-
 127746391.1
Case:24-12624-KHT Doc#:334 Filed:03/14/25              Entered:03/14/25 17:27:08 Page8 of 9




                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that, on March 14, 2025, a true and correct copy of the
 foregoing RINGBA’S OBJECTION TO MOTION TO MODIFY CASH COLLATERAL
 ORDER was electronically filed and served via CM/ECF, which action caused automatic
 electronic notice of such filing upon all parties in interest in this matter as follows:

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                                              -8-
 127746391.1
Case:24-12624-KHT Doc#:334 Filed:03/14/25   Entered:03/14/25 17:27:08 Page9 of 9




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                                    -9-
 127746391.1
